      Case 4:20-cr-00179-SDJ-KPJ
               6:22-mj-00089-KEW*SEALED*
                                  Document Document
                                           1 Filed in 436
                                                      ED/OK
                                                          *SEALED*
                                                             on 03/24/22
                                                                      FiledPage
                                                                            09/01/21
                                                                                1 of 9 Page 1 of
                                       2 PageID #: 1453
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                      EasternDistrict
                                                 __________   District of
                                                                       of __________
                                                                          Texas

                  United States of America                                EDOK Case No. 22-MJ-89-KEW
                             v.                                   )
                                                                  )         Case No.   4:20-cr-00179-SDJ-KPJ
               JOSE LUIS HERNANDEZ (36)                           )
                     a.k.a. "Cuate"                               )
                                                                  )
                                                                  )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      JOSE LUIS HERNANDEZ                                                                               ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              ✔ Superseding Indictment
                          u                               u Information       u Superseding Information             u Complaint
u Probation Violation Petition            u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  21 U.S.C. § 846 - Conspiracy to Possess with the Intent to Distribute and Distribution of Methamphetamine, Cocaine,
  Heroin and Marijuana




Date:         09/01/2021
                                                                                         Issuing officer’s signature

City and state:       Sherman, Texas                                                    David A. O'Toole, Clerk
                                                                                           Printed name and title


                                                                Return

           This warrant was received on (date)                        , and the person was arrested on (date)
at (city and state)                                         .

Date:
                                                                                        Arresting officer’s signature



                                                                                           Printed name and title
Case 4:20-cr-00179-SDJ-KPJ
        6:22-mj-00089-KEW *SEALED*
                           Document 1Document
                                       Filed in ED/OK
                                                379 Filed
                                                      on 03/24/22
                                                          09/01/21 Page
                                                                    Page21ofof98 PageID
                                     #: 1372
                                                                              U. S. DISTRICT COURT
                                                                           EASTERN DIST ICT OF TEXAS

                                    IN THE UNITED STATES DISTRICT COURT
                                     FOR THE EASTERN DISTRICT OF TEXAS
                                                                                  SEP 0 1 2021
                                              SHERMAN DIVISION
                                                                     BY
     UNITED STATES OF AMERICA §                                 SEALED DEPUTY-
                                                         §
     v.                                      §                  No. 4:20-CR-179
                                                         §       Judge Jordan
     ISMAEL ENRIQUE FERNANDEZ- §
     VASQUEZ (1) §
       a.k.a. El Primo “Primo “Kike” “Kique” §
       “Licenciado” “Lie” §
     YVETTE TOMASITA MONTEMAYOR (2) §
       a.k.a. “La Guera” “La Wera” “La Prima” §
     SALVADOR RODRIGUEZ MORENO (3) §
       a.k.a. “Salvador Moreno Rodriguez §
       “Chava            “Negro” §
     CYNTHIA ELVIRA ARANDA (4) §
     YANIRA YVETTE GONZALEZ (5) §
     MARIA DE LOURDES FERNANDEZ- §
     VASQUEZ (6) §
     HOMERO VIDAURRI VARGAS (7) §
       a.k.a. “Hummer                                  §
     SAUL HUERTA-HERNANDEZ (8) §
     JONATHAN SOTELO (9) §
     MICHELLE VEGA (10) §
     ISRAEL DAVID FERNANDEZ §
     VASQUEZ (11) §
       a.k.a. “Primo” “Guero” §
     RAFAEL NAVA (12) §
     LUIS FERNANDO ESPINOZA (13) §
       a.k.a. “Pikachu                                 §
     JORGE LUIS CRUZ (14) §
     CARLOS LOPEZ, JR. (15) §
       a.k.a. “Guero” “Laredo” “Gordo” §
     JOSHUA CHADWICK GARAY (16) §
       a.k.a. “Red                       “Fenway” §
     HECTOR ALONZO (17) §
     JOSE PLATA (18) §
     GIOVANNA TELLEZ (19) §
       a.k.a. “Giovanna Cruz” §
     KEVIN ALEXIS ALVAREZ (20) §
     MARK ANTHONY LOPEZ (21) §
    Second Superseding Indictment
    Pa e 1
Case 4:20-cr-00179-SDJ-KPJ
        6:22-mj-00089-KEW *SEALED*
                           Document 1Document
                                       Filed in ED/OK
                                                379 Filed
                                                      on 03/24/22
                                                          09/01/21 Page
                                                                    Page32ofof98 PageID
                                     #: 1373



     JOAQUIN JOEL MONTEMAYOR (22) §
     SERGIO LUIS TEJEDA NUNEZ (23) §
       a.k.a.              Checo         “Cheko        §
     SERGIO LEAL (24) §
       a.k.a. “El Bull” “Bull”                         §
     JOSE HUMBERTO CASTRO TREJO (25) §
       a.k.a. “Francisco Castro Trejo” “Paco: §
       “Pacoroo” §
     JOSE PORRAS CARMONA (26) §
     FRANCISCO JAVIER HERNANDEZ §
     CELAYA (27) §
       a.k.a. “Paquillo” §
     JOSE HUMBERTO BARRERA (28) §
       a.k.a.                       “Pepe”             §
     LUIS EDMONDO VASQUEZ (29) §
     ERIC ALEXANDER MARTINEZ (3 0) §
     JAIME ENRIQUE GARZA JUAREZ (31) §
     ELIUD CHAPA MORALES (32) §
     JESSWEN RIVERA (33) §
     JAVIER NEIRA, JR. (34) §
       a.k.a.                        “Javi             §
     ROQUE RUBEN CELESTINO (35) §
     JOSE LUIS HERNANDEZ (36) §
       a.k.a.                       “Cuate             §
     JOSE FERNANDO HERNANDEZ §
     PERALES (37) §
     JORGE ELIAS GOLARTE (3 8) §
     DAVID ROBERT VELA (39) §
       a.k.a.                       “Primo”            §


                                    SECOND SUPERSEDING INDICTMENT
    THE UNITED STATES GRAND JURY CHARGES:

                                           Count One

                                                       Violation: 21 U.S.C. § 846
                                                       (Conspiracy to Possess with the Intent to
                                                       Distribute and Distribution of
                                                       Methamphetamine, Cocaine, Heroin and




    Second Superseding Indictment
    Page 2
Case 4:20-cr-00179-SDJ-KPJ
        6:22-mj-00089-KEW *SEALED*
                           Document 1Document
                                       Filed in ED/OK
                                                379 Filed
                                                      on 03/24/22
                                                          09/01/21 Page
                                                                    Page43ofof98 PageID
                                     #: 1374



                                                             Marijuana)

              That from sometime in or about September 2014, and continuously thereafter

    up to and including the date of this Second Superseding Indictment, in the Eastern

    District of Texas and elsewhere,

    Ismael Enrique Fernandez-Vasquez, a.k.a. El Primo “Primo “Kike “Kique”
                                              “Licenciado “Lie
         Yvette Tomasita Montemayor, a.k.a. “La Guera “La Wera “La Prima
       Salvador Rodriguez Moreno, a.k.a. “Salvador Moreno Rodri uez “Chava
                                     “Negro”
                                            Cynthia Elvira Aranda
                                            Yanira Yvette Gonzalez
                                     Maria De Lourdes Fernandez-Vasquez
                                Homero Vidaurri Vargas, a.k.a. “Hummer
                                            Saul Huerta-Hernandez
                                                Jonathan Sotelo
                                                 Michelle Vega
                     Israel David Fernandez Vasquez, a.k.a. “Primo “Guero
                                                 Rafael ava
                                    Luis Fernando Espinoza, a.k.a. “Pikachu
                                                Jorge Luis Cruz
                         Carlos Lopez, Jr., a.k.a. “Guero “Laredo “Gordo
                            Joshua Chadwick Garay, a.k.a. “Red “Fen ay
                                                Hector Alonzo
                                                 Jose Plata
                                    Giovanna Tellez, a.k.a. “Giovanna Cruz”
                                             Kevin Alexis Alvarez
                                             Mark Anthony Lopez
                                           Joaquin Joel Montemayor
                          Sergio Luis Tejeda Nunez, a.k.a. “Checo “Cheko
                                  Sergio Leal, a.k.a. “El Bull” “Bull
    Jose Humberto Castro Trejo, a.k.a. “Francisco Castro Trejo “Paco “Pacorro”
                                             Jose Porras Carmona
                        Francisco Javier Hernandez Celaya, a.k.a. “Paquillo”
                                     Jose Humberto Barrera, a.k.a. “Pepe
                                            Luis Edmondo Vasquez
                                            Eric Ale ander Martinez
                                          Jaime Enrique Garza Juarez
                                             Eliud Chapa Morales

    Second Superseding Indictment
    Page 3
Case 4:20-cr-00179-SDJ-KPJ
        6:22-mj-00089-KEW *SEALED*
                           Document 1Document
                                       Filed in ED/OK
                                                379 Filed
                                                      on 03/24/22
                                                          09/01/21 Page
                                                                    Page54ofof98 PageID
                                     #: 1375



                                                 Jesswen Rivera
                                         Javier Neira, Jr., a.k.a. Javi
                                             Roque Ruben Celestino
                                      Jose Luis Hernandez, a.k.a. Cuate
                                       Jose Fernando Hernandez Perales
                                               Jorge Elias Golarte
                                       David Robert Vela, a.k.a. Primo


    defendants, did knowingly and intentionally combine, conspire, and agree with other

    persons known and un nown to the United States Grand Jury, to knowingly and

    intentionally possess with the intent to distribute and distribute 500 grams or more of

    a mixture or substance containing a detectable amount of methamphetamine or 50

    grams or more of methamphetamine (actual), five kilograms or more of a mixture or

    substance containing a detectable amount of cocaine, 1 kilogram or more of heroin,

    and 1000 kilograms or more of marijuana, a violation of 21 U.S.C. § 841(a)(1).

              In violation of 21 U.S.C. § 846.

                 NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

                                    Criminal Forfeiture Pursuant to 21 U.S.C. § 853

              As a result of committing the offenses charged in this Second Superseding

    Indictment, the defendants shall forfeit to the United States any property they may have

    used or intended to be used to commit or facilitate the offenses and/or property derived

    from proceeds obtained directly or indirectly as a result of the commission of the

    violation of 21 U.S.C. § 846.

              All such proceeds and/or instrumentalities are subject to forfeiture by the




    Second Superseding Indictment
    Paged
Case 4:20-cr-00179-SDJ-KPJ
        6:22-mj-00089-KEW *SEALED*
                           Document 1Document
                                       Filed in ED/OK
                                                379 Filed
                                                      on 03/24/22
                                                          09/01/21 Page
                                                                    Page65ofof98 PageID
                                     #: 1376



    government.



                                               A TRUE BILL



                                               GRAND URY FOREPERSON

    NICHOLAS J. GANJEI
    ACTING UNITED STATES ATTORNEY



    Heaih t atta                               Date
    Assistant United States Attorney




    Second Superseding Indictment
    Page 5
Case 4:20-cr-00179-SDJ-KPJ
        6:22-mj-00089-KEW *SEALED*
                           Document 1Document
                                       Filed in ED/OK
                                                379 Filed
                                                      on 03/24/22
                                                          09/01/21 Page
                                                                    Page76ofof98 PageID
                                     #: 1377

                                                                            FILED
                                                                        U. S. DISTRICT COURT
                                                                     EASTERN DISTRICT OF TEXAS
                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS $EP 0 1 2021
                                    SHERMAN DIVISION

     UNITED STATES OF AMERICA                    §        SEALED BY
                                                                   DEPUTY.
                                                 §
     V.                                          §        No. 4:20-CR-179
                                                 §        ludge Iordan
     ISMAEL ENRIQUE FERNANDEZ-                   §
     VASQUEZ (1)                                 §
       a.k.a. El Primo “Primo “Kike” “Kique”     §
       “Licenciado “Lie”                         §
     YVETTE TOMASITA MONTEMAYOR (2)              §
       a.k.a. “La Guera” “La Wera” “La Prima”    §
     SALVADOR RODRIQUEZ MORENO (3)               §
       a.k.a. “Salvador Moreno Rodriguez         §
       “Chava “Negro”                            §
     CYNTHIA ELVIRA ARANDA (4)                   §
     YANIRA YVETTE GONZALEZ (5)                  §
     MARIA DE LOURDES FERNANDEZ-                 §
     VASQUEZ (6)                                 §
     HOMERO VIDAURRI VARGAS (7)                  §
       a.k.a. “Hummer”                           §
     SAUL HUERTA-HERNANDEZ (8)                   §
      ONATHAN SOTELO (9)                         §
     MICHELLE VEGA (10)                          §
     ISRAEL DAVID FERNANDEZ                      §
     VASQUEZ (11)                                §
       a.k.a. “Primo “Guero”                     §
     RAFAEL NAVA (12)                            §
     LUIS FERNANDO ESPINOZA (13)                 §
       a.k.a. “Pikachu”                          §
     IORGE LUIS CRUZ (14)                        §
     CARLOS LOPEZ, IR. (15)                      §
       a.k.a. “Guero” “Laredo” “Gordo”           §
     IOSHUA CHADWICK GARAY (16)                  §
       a.k.a. “Red” “Fenway”                     §
     HECTOR ALONZO (17)                          §
     IOSE PLATA (18)                             §
     GIOVANNA TELLEZ (19)                        §
       a.k.a. “Giovanna Cruz”                    §
     KEVIN ALEXIS ALVAREZ (20)                   §
     MARK ANTHONY LOPEZ (21)                     §
    Notice of Penalty
    Page 1
Case 4:20-cr-00179-SDJ-KPJ
        6:22-mj-00089-KEW *SEALED*
                           Document 1Document
                                       Filed in ED/OK
                                                379 Filed
                                                      on 03/24/22
                                                          09/01/21 Page
                                                                    Page87ofof98 PageID
                                     #: 1378



      JOAQUIN JOEL MONTEM YOR (22) §
      SERGIO LUIS TEJEDA NUNEZ (23) §
        a.k.a.          Checo    Cheko           §
      SERGIO LEAL (24) §
        a.k.a. “El Bull             “Bull” §
      JOSE HUMBERTO CASTRO TREJO (25) §
        a.k.a. “Francisco Castro Trejo” “Paco: §
        “Pacoroo” §
     JOSE PORRAS CARMONA (26) §
     FRANCISCO JAVIER HERNANDEZ §
      CELAYA (27) §
       a.k.a. “Paquillo                          §
     JOSE HUMBERTO BARRERA (28) §
       a.k.a.             “Pepe”                §
     LUIS EDMONDO VASQUEZ (29) §
     ERIC ALEXANDER MARTINEZ (3 0) §
     JAIME ENRIQUE GARZA JUAREZ (31) §
     ELIUD CHAPA MORALES (32) §
     JESS WEN RIVERA (33) §
     JAVIER NEIRA, JR. (34) §
       a.k.a.              “Javi”              §
     ROQUE RUBEN CELESTINO (35) §
     JOSE LUIS HERNANDEZ (36) §
       a.k.a.             “Cuate”               §
     JOSE FERNANDO HERNANDEZ §
     PERALES (37) §
     JORGE ELIAS GOLARTE (3 8) §
     DAVID ROBERT VELA (3 9) §
       a.k.a.             “Primo”               §


                                   NOTICE OF PENALTY

                                       Count One


    Violation: 21 U.S.C. § 846

    Penalty: If 1 kilogram or more of heroin, 500 grams or more of
                          methamphetamine or 50 grams or more of methamphetamine
                            actual, or 5 kilograms or more of a mixture or substance
                            containing a detectable amount of cocaine: not less than 10
                            years and not more that life imprisonment, a fine not to
                            exceed $10 million, or both; supervised release of at least 5
    Notice of Penalty
    Page 2
Case 4:20-cr-00179-SDJ-KPJ
        6:22-mj-00089-KEW *SEALED*
                           Document 1Document
                                       Filed in ED/OK
                                                379 Filed
                                                      on 03/24/22
                                                          09/01/21 Page
                                                                    Page98ofof98 PageID
                                     #: 1379



                             years If 100 kilogram or more of marijuana, not less than 5
                             years nor more than 40 years imprisonment, a fine not to
                             exceed $5 million, or both; supervised release of at least 3
                             years.


    Special Assessment:      $100.00




   Notice of Penalty
   Page 3
